                    Case 22-10165-BLS            Doc 95       Filed 04/01/22         Page 1 of 3




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                  Chapter 11 (Subchapter V)

    LEAR CAPITAL, INC.,1                                    Case No. 22-10165 (BLS)

                   Debtor.                                  Re: Docket No. 49


          SUPPLEMENTAL DECLARATION OF LANCE MILLER IN SUPPORT
         OF APPLICATION FOR ENTRY OF AN ORDER (I) AUTHORIZING THE
      RETENTION AND EMPLOYMENT OF PALADIN MANAGEMENT GROUP LLC
        AS FINANCIAL ADVISOR TO THE DEBTORS NUNC PRO TUNC TO THE
              PETITION DATE, AND (II) GRANTING RELATED RELIEF

             Pursuant to Rule 2014(a) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), I, Lance Miller, under penalty of perjury, declare as follows:

             1.     I am a Partner of Paladin Management Group, LLC (“Paladin”), a financial

advisory firm with an office located at 633 West 5th Street, 28th Floor, Los Angeles, CA 90071.

I am duly authorized to make and submit this supplemental declaration (the “Supplemental

Declaration”) on behalf of Paladin to supplement the disclosures contained in my initial declaration

(the “Initial Declaration”), attached as Exhibit B to the Application for Entry of an Order

(I) Authorizing the Retention and Employment of Paladin Management Group, LLC as Financial

Advisor to the Debtor, Nunc pro Tunc to the Petition Date, and (II) Granting Related Relief

[Dkt. No. 49] (the “Application”).

             2.     I previously submitted the Initial Declaration in support of the Application.

Capitalized terms used but not defined herein shall have the meanings as set forth in the

Application. As discussed in paragraph 17 of the Initial Declaration, I stated that as additional

material information was discovered, Paladin would supplement the Initial Declaration.


1
 The last four digits of the Debtor’s federal tax identification number are 7197. The Debtor’s address is 1990 S. Bundy
Drive, Suite 600, Los Angeles CA 90025.


13537882/1
                  Case 22-10165-BLS              Doc 95        Filed 04/01/22        Page 2 of 3




          3.      By this Supplemental Declaration, I am further supplementing the statements set

forth in the Initial Declaration to address certain questions raised by the U.S. Trustee, including

those related to certain disclosures made in the Initial Declaration and the connections checking

performed by Paladin.

          4.      To clarify the statements made in the Initial Declaration that relate to the conflicts

check process utilized by Paladin, the searches were intended to capture the connections of Paladin

Services Group, Inc. (an affiliate of Paladin) and Axia Partners L.P. (an associate of Paladin)2

(collectively, the “Paladin Affiliations”). To the best of my knowledge and belief, neither Paladin

nor any of the Paladin Affiliations has represented any Potential Parties in Interest in connection

with matters relating to the Debtor, its estate, assets, or business within the three years prior to the

date hereof and will not represent other entities which are creditors of, or have other relationships

to, the Debtor in matters relating to this case.

          5.      These supplemental disclosures in this declaration do not affect Paladin’s

disinterestedness. Paladin continues to reserve the right to supplement Paladin’s disclosures in the

event that Paladin discovers any additional connections that require disclosure. If any new relevant

facts or relationships are discovered or arise in the future with respect to Paladin’s financial

advisory business, Paladin will use reasonable efforts to identify such further relevant facts or

relationships and will file promptly a supplemental declaration, as required by Bankruptcy Rule

2014. In any event, Paladin will file a supplemental declaration, to the extent there is anything to

report.



2
 Axia Partners L.P. is not an affiliate of Paladin, but is a party to a Staffing and Association Agreement with Paladin.
Under that Agreement, Axia’s employees and partners can supplement Paladin’s team and otherwise provide resources
as needed to Paladin’s clients. Where applicable, Axia’s employees serve as part of the Paladin team under the
supervision and direction of Paladin leadership, and their time and expense associated with client work is billed to the
client under Paladin’s engagement.

                                                           2
13537882/1
                Case 22-10165-BLS        Doc 95      Filed 04/01/22    Page 3 of 3




         6.     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.

Dated: April 1, 2022

                                              Paladin Management Group, LLC,


                                              By: /s/ Lance Miller
                                              Lance Miller




                                                 3
13537882/1
